Case 5:10-cr-00001-RWS-JBB              Document 66        Filed 07/12/10     Page 1 of 1 PageID #:
                                               101



                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION

    UNITED STATES OF AMERICA                      §
                                                  §
    V.                                            §                                   5:10-CR-1(1)
                                                  §
    LEO PATRICK COLLINS                           §

                                       MEMORANDUM ORDER

           The above-entitled and numbered criminal action was heretofore referred to United States

    Magistrate Judge Caroline M. Craven pursuant to 28 U.S.C. § 636. The Report of the Magistrate

    Judge which contains her proposed findings of fact and recommendations for the disposition of such

    action has been presented for consideration. No objections were filed to the Magistrate Judge’s

    Report and Recommendation. The undersigned is of the opinion that the findings and conclusions
.
    of the Magistrate Judge are correct and hereby adopts same as the findings and conclusions of this

    Court. Accordingly, it is hereby

           ORDERED that Defendant’s Motion to Suppress (Dkt. No. 33) is DENIED.


           SIGNED this 12th day of July, 2010.




                                                       ____________________________________
                                                       DAVID FOLSOM
                                                       UNITED STATES DISTRICT JUDGE
